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Case # OBN 2022-1718-158

01/09/2024

I, Jason Hefley, have been a Deputy with the Oklahoma County Sheriff’s Office since May 2021.
I have been assigned to the Criminal Interdiction Team of Central Oklahoma since May 2021. I
am tasked with enforcing motor vehicle traffic laws and criminal state statutes. I have specialized
training related to criminal interdiction, interviews, and as a drug detection K-9 handler. I have
been a certified Police Officer since 2004 in the State of Oklahoma. I have worked in various
roles in my law enforcement career. I started as a k-9 handler in 2006 and worked contract dogs
for the military overseas. I am currently assigned a drug detection K-9 since May 2022 by the
name of Geri. Geri was certified with the State of Oklahoma in May of 2022 and again in May
2023 as a licensed CDS detector team. Geri is trained and certified to detect the odors of
marijuana, cocaine, meth, and heroin. I also attended the Oklahoma State Bureau of Narcotics
and Dangerous Drugs Control Accelerated K9 Handler Phase II, 50 hours in December of 2022
with Geri. Geri is considered a passive alert dog. Geri is trained to go to the source of the odor.
His final response is to sit if he can get close enough to the source.

On 01/09/2024 at approximately 1531 hours, OBN Agent Jehle contacted me and requested a
narcotic k-9 at I-40 and Sooner Rd. Service Rd. I arrived at approximately 1544 hours. The
vehicle was parked at the intersection with busy traffic. There was also traffic backed up in the
lane next to it just a few feet away, and officer’s cars backed up behind the vehicle. Several
officers were standing close to the vehicle. I started Geri at the rear of the vehicle. Geri didn’t
appear to start searching, instead he was looking around and wasn’t close to the vehicle sniffing.
I could smell an odor of marijuana emitting from the open window. I believed Geri was
distracted due to the officers standing close by and the traffic passing by us.

It was determined to move the vehicle into the parking lot next to the traffic stop. I started Geri at
the rear passenger side of the vehicle. He worked his way toward the front of the vehicle. He
showed a change in behavior at the front of the vehicle by changing directions and working his
way back toward the doors sniffing with more intensity. He worked the rear fender area with
more intensity and quicker sniffs. He also went up and sniffed the bottom of the front and back
passenger window seam. Geri would start to work toward the front or back then change
directions as if he was trying to bracket an odor he is trained to detect. Geri did show a positive
response by sitting on the passenger door seam. I advised Agent Jehle of the positive alert. A
large amount of meth was found on the passenger side.

Deputy Jason Hefley #25191

Criminal Interdiction Team of Central Oklahoma




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